 

Case 14-50333-gs Doc 28 Entered 03/24/14 15:42:45 Page 1 of 16
1 || ALAN R. SMITH, ESQ.
Nevada Bar No. 1449
2 || HOLLY E. ESTES, ESQ.
Nevada Bar No. 11797 ELECTRONICALLY FILED
3 || Law Offices of Alan R. Smith March 24, 2014
505 Ridge Street
4 |] Reno, Nevada 89501
Telephone (775) 786-4579
5 || Facsimile (775) 786-3066
E-mail: mail@asmithlaw.com
6
Proposed Attorney for Debtors
7
8
9 UNITED STATES BANKRUPTCY COURT
10 DISTRICT OF NEVADA
11 —oo0000—
12 || InRe: Case No. BK-N-14-50333-BTB
13 | ANTHONY THOMAS and Chapter 11
WENDI THOMAS,
14 EX PARTE APPLICATION TO EMPLOY
Debtors, ATTORNEY FOR DEBTORS
15
[No Hearing Required]
16
/
17
Debtors, ANTHONY THOMAS and WENDI THOMAS, (the “Debtors”) hereby apply to
18
this Court for an Order appointing the Law Offices of Alan R. Smith (“Law Offices”) as their
19
attorneys of record, and respectfully represent:
20
1. Debtors are husband and wife.
21
2. No trustee has been appointed and Debtors are currently operating as debtors-in-
22
possession. Debtors are not sufficiently familiar with the rights and duties of a debtor-in-possession
23
as to be able to plan and conduct proceedings without the aid of competent counsel.
24
3. Debtors have made careful and diligent inquiry into the qualifications and competence
25
of the Law Offices of Alan R. Smith, and are advised that the attorneys employed by said law firm
26
are admitted to practice in this Court and by reason of ability, integrity and professional experience,
27
are capable of providing proper legal counsel to Debtors.
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Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579 H:\Thomas\Employ\App Emply ARS 031814-dig.wpd

 

 
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1 4, Law Offices does not hold or represent an interest adverse to the estate and the
2 || members thereof are disinterested persons as that phrase is defined in section 101(14) of the
3 || Bankruptcy Code. Such employment is necessary and in the best interests of the Debtors and their
4 || estate.
5 5. The Law Offices represent AT Emerald, LLC, a related case, Case No. 14-50331.
6 || AT Emerald, LLC, is not a creditor of the Debtors and Debtors are not a creditor of AT Emerald,
7 | LLC.
8 6. To the best of Debtors’ knowledge, the members of the Law Offices have no
9 || connection with the Debtors, other than as disclosed in paragraph 5 above, any of their creditors, any
10 || other party in interest, their respective attorneys and accountants, the United States Trustee, or any
11 | person employed in the office of the United States Trustee.
12 7. Debtors have engaged the services of the Law Offices as their attorneys to commence
13 || the Chapter 11 bankruptcy proceeding, and have engaged such services subject to the approval of
14 || this Court. The Debtors believe that the employment of the Law Offices is in the best interest of
15 || their estate and that the Law Offices should be retained, pursuant to section 327 of the United States
16 || Bankruptcy Code. Law Offices, as counsel for the Debtors, will provide specific legal services to
17 || the Debtors as follows:
18 a. Render legal advice with respect to the powers and duties of the Debtors who
19 continue to operate their business and manage their properties as debtors-in-
20 possession;
21 b Negotiate, prepare and file a plan or plans of reorganization and disclosure
22 statements in connection with such plans, and otherwise promote the
23 financial rehabilitation of the Debtors;
24 c Take all necessary action to protect and preserve the Debtors’ bankruptcy
25 estate, including the prosecution of actions filed in connection with the
26 bankruptcy case on the Debtors’ behalf, the defense of any actions
27 commenced against the Debtors in conjunction with the bankruptcy case,
28 negotiations concerning all litigation in which the Debtors are or will become
Law Offices of
1508 Ridge Street
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1 involved in conjunction with the bankruptcy case, and the evaluation and
2 objection to claims filed against the bankruptcy estate;
3 d. Prepare, on behalf of the Debtors, all necessary applications, motions,
4 answers, orders, reports and papers in connection with the administration of
5 the Debtors’ bankruptcy estate, and appear on behalf of the Debtors at all
6 Bankruptcy Court proceedings in connection with the Debtors’ bankruptcy
7 case;
8 e. Render legal advice and perform general legal services in connection with the
9 foregoing bankruptcy case; and
10 f. Perform all other necessary legal services in connection with this Chapter 11
11 case.
12 || The Debtors have agreed that Law Offices shall be compensated for services at the following rates:
13 || Alan R. Smith, Esq. - $500.00 per hour and Associate Attorney Holly E. Estes, Esq. - $300.00 per
14 || hour; paraprofessional services as follows: Peggy L. Turk - $210.00 per hour and Debra L. Goss -
15 || $150.00 per hour; and other paraprofessional services at $130.00 per hour, which are the customary
16 || rates charged by said firm. The hourly rates now being charged are subject to periodic adjustments
17 || to reflect economic and other conditions, and, on occasion, to reflect the firm members’ increased
18 || experience and expertise. A copy of the Attorney Fee Agreement entered into between the Debtors
19 || and Law Offices is attached hereto.
20 8. On March 4, 2014, Debtors paid Law Offices an advance retainer of $5,000.00, for
21 || bankruptcy advice, and ultimately commencement and prosecution of this Chapter 11 bankruptcy
22 || case.
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ALAN R. SMITH
505 Ridge Street
RTs) 786.4579 sm H:\Thomas\Employ\App Emply ARS 031814-dlg.wpd -3-

 

 
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9. Law Offices has not been retained for pre-petition services.

WHEREFORE, Debtors pray that the employment of the Law Offices of Alan R. Smith, as
counsel for the Debtors herein, be authorized, that said firm be compensated at reasonable rates as
approved by the Court upon future application, and that they have such other relief as is just.

DATED this 18" day of March, 2014.

LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Proposed Attorney for Debtors

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505 Ridge Street

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Law Offices of
ALAN R. SMITH
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CONSENT TO EMPLOYMENT OF ATTORNEY

I, ANTHONY THOMAS and WENDI THOMAS, have read the foregoing Application to
Employ Attorney, and consent to the employment of the Law Offices of Alan R. Smith on the terms
and conditions set forth in the Fee Agreement.

The Law Offices of Alan R. Smith do not hold or represent an interest adverse to the estate
and the members thereof are disinterested persons as that phrase is defined in section 101(14) of the
Bankruptcy Code. Such employment is necessary and in the best interests of the Debtors and their
estate.

DATED this LI day of March, 2014.

 

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ANTHONY THOMAS

  

WENDI THOMAS

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CONSENT TO EMPLOYMENT OF ATTORNEY
I, ANTHONY THOMAS and WENDI THOMAS, have read the foregoing Application to

Employ Attorney, and consent to the employment of the Law Offices of Alan R. Smith on the terms
and conditions set forth in the Fee Agreement.

The Law Offices of Alan R. Smith do not hold or represent an interest adverse to the estate
and the members thereof are disinterested persons as that phrase is defined in section 101(14) of the
Bankruptcy Code. Such employment is necessary and in the best interests of the Debtors and their
estate.

DATED this 24 day of March, 2014.

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fom thm)
ANTHONY THOMAS

 

WENDI THOMAS

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1 VERIFIED DECLARATION OF ATTORNEY
2 I, ALAN R. SMITH, ESQ., declare under penalty of perjury that the assertions of this
3 || statement are true.
4 1. That Declarant is an attorney at law licensed to practice in the above-entitled Court,
5 || and a member of the Law Offices of Alan R. Smith, which firm Debtors are seeking to employ to
6 || represent them in the above-entitled Chapter 11 case.
7 2. That to the best of Declarant’s knowledge and belief, the Law Offices of Alan R.
8 || Smith does not hold or represent an interest adverse to the Debtors’ estate and he is a disinterested
9 || person as that term is defined in Section 101(14) of the Bankruptcy Code in that Alan R. Smith, Esq.:
10 a. Is not a creditor, equity security holder or insider of the Debtors;
1] b. Is not and was not investment bankers for any outstanding security of the
Debtors;
12
c. Has not been, within three (3) years before the date of the filing of the
13 Debtors’ Chapter 11 petition (i) investment bankers for a security of the
Debtors, or (ii) an attorney for such an investment banker in connection with
14 the offer, sale, or issuance of a security of the Debtors;
15 d Is not and was not, within two (2) years before the date of the filing of the
Debtors’ Chapter 11 petition, a director, officer, or employee of the Debtors
16 or of any investment banker as specified in subparagraph (b) or (c) of this
paragraph; and
17
e. Does not have an interest materially adverse to the interest of the estate or any
18 class of creditors or equity security holders, by reason of any direct or indirect
relationship to, connection with, or interest in, the Debtors or an investment
19 banker specified in the subparagraph (b) or (c) of this paragraph.
20 3. The Law Offices of Alan R. Smith also represent AT Emerald, LLC, a related case,
21 || Case No. 14-50331. AT Emerald, LLC, is not a creditor of the Debtors and Debtors are not a
22 || creditor of AT Emerald, LLC.
23 | ///
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1 4. To the best of Declarant’s knowledge and belief, the Law Offices of Alan R. Smith
2 || has no connection with the Debtors, their creditors, any other party in interest, their respective
3 || attorneys and accountants, the United States Trustee, or any person employed in the office of the
4 || United States Trustee.
5 DATED this 18" day of March, 2014.
6 /s/f_ Alan R. Smith
ALAN R. SMITH, ESQ.
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9
10 || REVIEWED: [Re: ANTHONY & WENDI THOMAS]
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12
William B. Cossitt, Esq., #3484
13 |] Trial Attorney for United States Trustee
Tracy Hope Davis
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Law Offices of
ALAN R. SMITH
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ATTORNEY FEE AGREEMENT
(Chapter 11)

THIS AGREEMENT is made effective this 2[sf" day of March, 2014, by and
between
Name: ANTHONY and WENDI THOMAS
Address: 7725 Peavine Court, Reno, NV 89523
(referred to herein as “Client”) and the Law Offices of Alan R. Smith (referred to herein as
“Attorney”’).

1, Services To Be Provided By Attorney.

Client hereby engages Attorney to provide all legal services reasonably
required to represent Client in connection with Client’s reorganization case under Chapter
11 of the Bankruptcy Code (hereinafter the “Matter”). Such services shall include services
as necessary in Attorney’s discretion, including, if applicable: consultation, pre-petition
planning, and preparation of the initial petition, preparation of schedules and statements,
defense of motions for relief from stay, preparation of a plan of reorganization and a
disclosure statement, assisting in the implementation of a confirmed plan, and such other
matters as may be necessary in order to effectively reorganize and to comply with the
requirements of the Bankruptcy Code. In order to enable Attorney to effectively render these
services, Client shall be truthful with Attorney in discussing the Matter and shall keep

Attorney apprized of all developments regarding the Matter. The Client shall specifically

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advise Attorney immediately if Client is unable to pay ongoing expenses for operation of its
business post-petition, particularly including (without limitation) payment of Internal
Revenue Service employee income and withholding taxes or any other applicable taxes, rent
or mortgage payments and other secured debt(s), lease obligations, salaries, purchase of
necessary goods, and payment of necessary services. The Client shall otherwise cooperate
with Attorney in the Matter and shall be reasonably available to attend meetings, court
appearances, or other proceedings in connection with the Matter. Client hereby
acknowledges that Attorney is not Client’s general counsel and that acceptance of this
engagement by Attorney does not involve representation of Client or Client’s business
interests in any matter other than the subject reorganization case.
2. Fees.

a. As compensation for the services to be performed by Attorney pursuant
to Section 1 above, Client agrees to pay fees to Attorney at the basic hourly rate set forth on
the Schedule, subject to periodic changes as provided herein and subject to adjustment as
provided by Section 2(b) below. The basic hourly rates set forth in the Schedule are subject
to periodic adjustments to reflect economic and other conditions, and, on occasion, to reflect
the firm member’s increased experience and expertise. The Attorney shall give Client thirty
(30) days’ notice of any such change, and Client shall be presumed to have agreed to the new
basic hourly rates if Client does not advise Attorney in writing within thirty days following

receipt of the notice.

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b. Time for legal personnel is charged in the minimum increments of one-
tenth (1/10th) of an hour, except as may be otherwise noted on the Schedule with respect to
a specific task.

C. The time billed to Client by Attorney may include, without limitation,
time spent waiting in court, time spent in travel, and time spent in office conferences between
or among the legal personnel assigned to the Matter and time spent in strategizing the case.
When such personnel engage in office conferences, each person will charge for his or her
time expended. Likewise, if more than one of the Attorney’s legal personnel attends a
meeting, court hearing or other proceeding, each will charge for his or her time. Attorney
shall assign legal personnel to the Matter solely in Attorney’s judgment.

d. Client hereby acknowledges that although Attorney may, from time to
time for Client’s convenience, furnish Client with estimates of the amounts of fees which
Attorney anticipates will be charged with respect to services to be performed under this
Agreement, Attorney is not obligated to do so, and such estimates are by their nature inexact
and are not binding on either Attorney or Client.

3. Costs and Expenses.

Client agrees to pay Attorney, in accordance with this Section 3, all costs and
expenses incurred in performing legal services in connection with the Matter. Such costs and
expenses may include, without limitation, long distance telephone or conference calls;

messenger and other delivery fees; facsimile charges; postage; court docket services (i.e.,

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PACER); client-specific office supplies and materials; charges for computer research and
data retrieval and outside assisted legal research; travel expenses such as mileage, parking,
air fare, meals and hotel accommodations (travel charges shall be in addition to the hourly
rates for travel time); photocopying and other reproduction charges; clerical staff overtime;
overtime charges for word processing services; charges for computer time; process service
fees; filing fees and other charges assessed by courts and other public agencies; court reporter
fees; jury fees; witness fees; investigator fees; expert fees or consultant fees; and similar
items. Except as may be listed on the Schedule, all such items will be charged to Client as
Attorney’s costs and the Attorney shal! be reimbursed therefor.
4. Retainer / Funds In Trust.

Client hereby agrees to pay, upon execution of this Agreement, a retainer in the
amount as indicated on the attached schedule (the “Schedule”), which shall be placed in a
trust account (the “Retainer”). This Agreement shall not become effective until Attorney
receives such retainer. The Retainer shall be held in trust for Attorney, which shall be
considered a retaining trust in accordance with Nevada law. All fees earned pre-petition
shall be immediately paid from the Retainer. All post-petition fees shall be subject to
approval of the Bankruptcy Court in accordance with 11 U.S.C. § 330. Disbursements shall
be immediately made from Retainer to pay post-petition fees as approved by the Bankruptcy
Court. Additional deposits to the retainer may be made by client post-petition subject to

notice as required by Fed.R.Bankr.P. 2016, and such other order of the Bankruptcy Court as

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may be required. After satisfaction of any invoices that are outstanding at the conclusion of
the representation, any unused portion of the Retainer shall be refunded to Client, unless
otherwise required by the Bankruptcy Court or Bankruptcy Code.

5. Billings.

Attorney will send Client an invoice for fees and costs incurred on a monthly
basis. Attorney’s invoices shall clearly state the basis thereof, including a description of the
services, amount of time spent for the service, and rate and basis for calculation of Attorney’s
fees. Client agrees to pay Attorney at the normal hourly rates for any time spent by
Attorney in attempting to collect unpaid fees and costs owed by Client. A $25.00
administrative fee shall be assessed on all checks returned by Client’s bank for any reason
as well as all bank charges assessed in connection therewith.

6. Disclaimer.

Attorney has made no promises or guarantees to Client concerning the outcome
of the Matter, and nothing in this Agreement shall be construed as such a promise or
guarantee.

7. Termination of Service.

a. Client shall have the right at any time to terminate Attorney’s services
upon written notice to Attorney, and Attorney shall immediately after receiving such notice
cease to render additional services. Such termination shall not, however, relieve Client of

the obligation to pay the fees due for services rendered and costs incurred prior to such

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termination.

b. If Client fails to meet any of Client’s obligations under this Agreement,
Attorney shall have the right to terminate this Agreement, and Client shall take all steps
necessary to free Attorney of any obligation to perform further, including, without limitation,
the execution of any documents necessary to complete Attorney’s discharge or withdrawal.
The right of Attorney hereunder is in addition to those created by statute or recognized by
rules of professional conduct.

C. If Attorney is required to commence an action to collect unpaid fees,
Attorney shall be entitled to fees and costs associated with such collection.

d. If Attorney determines that Client’s business is operating at a loss post-
petition, Attorney shall have the right to terminate its representation of Client.

e. If Attorney determines, in his sole discretion, that Client will be unable
to pay current outstanding billings of Attorney, or billings reasonably projected to be incurred
by Attorney in the future, Attorney shall have the right to terminate its representation of
Client.

f. Following plan confirmation, Attorney is not Client’s attorney of record.
However, if Attorney continues to render services to Client, Attorney shall be paid in
accordance with this Agreement.

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IN WITNESS WHEREOF, the parties have executed this Agreement as of the date
set forth below.

ATTORNEY:

LAW "Cy R, SMITH
Dated: March L\ , 2014. B A
ALAN R.

R MIAH, ESQ.

CLIENT:

Dated: March 2! , 2014, By A Dene)
ANTH

Y THOMAS

Dated: March A)

, 2014.

 

 

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SCHEDULE
DESCRIPTION OF MATTER AND SCHEDULE OF RATES
(Chapter 11)
l. Matter.
Representation of Debtor(s) in all aspects of Chapter 11 reorganization and

proceedings in connection therewith.

2. Fees.
Alan R. Smith, Esq. $500.00 per hour
Holly E. Estes, Esq. $300.00 per hour
Peggy L. Turk/Paralegal $210.00 per hour
Debra L. Goss/Paralegal $150.00 per hour
Other Paraprofessional Services $130.00 per hour

3. Retainer Deposit.

$5,000.00 (Includes the Chapter 11 filing fee of $1,213.00).

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